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9
                                  UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12                                                                     *E-FILED - 4/13/06*
13
     UNITED STATES OF AMERICA,                     )       No. CR 06-00054-RMW
14                                                 )
             Plaintiff,                            )
15                                                 )       STIPULATION REGARDING
        v.                                         )       EXCLUDABLE TIME AND ORDER
16                                                 )
     JOSE SOLER,                                   )
17      a/k/a antboogie,                           )
        a/k/a Jas125,                              )
18                                                 )
             Defendant.                            )
19                                                 )
20      It is hereby stipulated and agreed between defendant Jose Soler, and his counsel N.A.
21   Christensen, Jr., and the United States as follows:
22      This matter was set for a status conference on April 10, 2006 at 9:00 a.m. In this copyright
23   infringement case, the defense needs more time to prepare, review discovery previously
24   provided, including a substantial amount of digital evidence, and research legal and sentencing
25   issues. The parties have also been discussing plea and sentencing issues. The defendant was
26   recently arraigned on this case on February 22, 2006. It is reasonable for the defense to have
27   additional time to review the discovery, which includes digital evidence.
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1       The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
2    April 10, 2006, until May 8, 2006, because the parties believe that the ends of justice served by
3    the granting of such a continuance outweigh the best interests of the public and the defendant in a
4    speedy trial, particularly since reasonable time is needed for the defense to prepare for pretrial
5    and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii). The parties further
6    stipulate that time may be excluded for reasonable time for defense preparation, since the failure
7    to exclude time would deny counsel for the defendant reasonable time necessary for effective
8    preparation, taking into account the exercise of due diligence, and for continuity of counsel,
9    pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv).
10      So stipulated.
11   Dated: April 7, 2006                                  KEVIN V. RYAN
                                                           United States Attorney
12
                                                                  /s/
13                                                         ________________________
                                                           MARK L. KROTOSKI
14                                                         Assistant United States Attorney
15      So stipulated.
16   Dated: April 7, 2006
                                                                  /s/
17                                                         ________________________
                                                           N.A. CHRISTENSEN, JR.
18                                                         Attorney for Defendant Templeton
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1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for April 10, 2006 at 9:00 a.m.
4    for defendant Soler shall be continued to May 8, 2006 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between April 10, 2006, until May 8, 2006 shall
6    be excluded from the computation period within which the trial must commence, for the reasons
7    and based upon the statutory provisions set forth by the parties in this Stipulation, including that
8    time is needed for effective defense preparation.. The Court finds that the ends of justice
9    outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12                13 2006
     DATED: April __,
13                                                          /s/ Ronald M. Whyte
                                                           _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
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